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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KATHERINE MELLOTT, Individually and on                : CIVIL ACTION
behalf of a class of persons similarly situated,
                                                        NO: 5:13-cv-01509-PD
                               Plaintiff,

         V.


PPL CORPORATION,

                               Defendant.

                           STIPULATION OF VOLUNTARY DISMISSAL

         Plaintiff Katherine Mellott, individually and on behalf of a class of persons similarly

situated, and Defendant PPL Corporation, by and through their respective counsel, hereby

stipulate to the voluntary dismissal of any and all claims in this matter without prejudice. This

dismissal is pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii), each party to bear its own

costs.

Dated: June 25, 2013                                Respectfully submitted,


SHELLER, P.C.                                       PPL CORPORATION

s/ Claudine Q. Homolash                             sl Andrew F. Susko
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                                  CERTIFICATE OF SERVICE

       I certify that on June 26, 2013, a copy of the foregoing pleading was served by operation

of the electronic filing system of the U.S. District Court for the Eastern District of Pennsylvania

upon the following:

                                       Claudine Q. Homolash
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